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                            IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLORADO

    Civil Action No. 1:20-cv-00389-WJM-GPG

    ST. PAUL FIRE AND MARINE INSURANCE COMPANY,
    a Connecticut corporation,

                   Plaintiff,

    v.

    PAUL B. JONES;
    STEPHEN R. MEACHAM and
    WOMEN’S HEALTH CARE OF WESTERN COLORADO,
    PC, formally known as ROBERT HACKETT, LOUIS
    IRVIN, STEPHEN MESCHAM, PAUL JONES, MECHAM
    & JONES, PARTNERSHIP & GYNECOLOGICAL
    ASSOCIATION, formally known as ROBERT HACKETT,
    STEPHEN MEACHAM, PAUL JONE, MEACHAM &
    JONES PARTNERSHIP & GYNECOLOGICAL
    ASSOCIATION,
                  Defendant.



          PLAINTIFF’S UNOPPOSED MOTION TO STAY DISCOVERY PENDING
          RESOLUTION OF PLAINTIFF’S MOTION FOR SUMMARY JUDGMENT


          St. Paul Fire and Marine Insurance Company (“St. Paul”) respectfully requests that the

   Court stay discovery in this matter pending resolution of its Motion for Summary Judgment

   (ECF 111), and in support states:

                                CERTIFICATE OF CONFERRAL

          Pursuant to D.C.COLO.LCivR 7.1(a), counsel for St. Paul conferred with counsel for the
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   remaining Defendants1 regarding the relief requested in this Motion and is authorized to

   represent that this Motion is unopposed.

                    INTRODUCTION AND PROCEDURAL BACKGROUND

          This matter arises out of a dispute between St. Paul and Defendants regarding the

   availability of coverage under certain professional office package insurance policies and certain

   physicians professional liability policies for defense and indemnification with respect to three

   lawsuits against Defendants. (See generally 3d Am. Compl. for Dec. J., Dec. 28, 2021 (ECF

   102).) St. Paul asserts a single claim for relief for a declaratory judgment that it owes no defense

   or indemnification obligations to Defendants under the relevant policies related to those three

   lawsuits. (See id. ¶¶ 114-120 & WHEREFORE ¶ p. 27.)

          On February 11, 2022, St. Paul filed its Motion for Summary Judgment. (See generally

   Pl. St. Paul’s Mot. for Summ. J., Feb. 11, 2022 (ECF 111) (the “MSJ”).) By the MSJ, St. Paul

   asks the Court to enter judgment in its favor on its only claim—for declaratory judgment—and

   rule that, as a matter of law, St. Paul owes Defendants no defense or indemnification obligations

   under the subject polices with respect to the subject lawsuits. The Court twice extended

   Defendants’ deadline to respond to the MSJ in order for them to conduct certain discovery, and

   their responses are currently due on September 30, 2022. (See Order Granting [121] Mot. for

   Extension of Time to File Resp./Reply as to [111] Mot. for Summ. J., June 21, 2022 (ECF 123).)

          The Court also modified the scheduling order such that the following discovery deadlines

   apply: (1) September 23, 2022 – deadline to designate affirmative experts; (2) October 24, 2022


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            St. Paul and former Defendant Stephen R. Meacham have settled and stipulated to
   dismissal with prejudice of St. Paul’s claims against Defendant Meacham. (See Stip. For
   Dismissal of Cls. Against Stephen Meacham with Prejudice, Sept. 9, 2022 (ECF 134).)


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   – deadline to designate rebuttal experts; (3) November 14, 2022 – deadline to complete

   discovery; and (4) February 24, 2023 – deadline to file dispositive motions. (See Order Granting

   [127] Motion to Am./Correct/Modify, July 25, 2022 (ECF 129).) A pretrial conference in this

   matter is set for June 22, 2023. (See Minute Order, Aug. 9, 2022 (ECF 131).)

                                         LEGAL STANDARD

          A stay of discovery is an appropriate exercise of the Court’s discretion. See Landis v. N.

   Am. Co., 299 U.S. 248, 254-55 (1936).

                  The power to stay proceedings is incidental to the power inherent
                  in every court to control the disposition of the causes on its docket
                  with economy of time and effort for itself, for counsel, and for
                  litigants. How this can best be done calls for the exercise of
                  judgment, which must weigh competing interests and maintain an
                  even balance.

   Id., citing Kan. City S. Ry. Co. v. United States, 282 U.S. 760, 763 (1931). Although stays of

   discovery are generally disfavored in this District, this Court will more readily exercise is

   discretion to stay discovery while a dispositive motion is pending. See Vivid Techs., Inc. v. Am.

   Scl. & Eng’g, Inc., 200 F.3d 795, 804 (Fed. Cir. 1999) (“When a particular issue may be

   dispositive, the court may stay discovery concerning other issues until the critical issue is

   resolved.”); Wason Ranch Corp. v. Hecla Mining Co., 2007 WL 1655362, at *1 (D. Colo. June

   6, 2007) (“A stay of all discovery is generally disfavored in this District.”); String Cheese

   Incident, LLC v. Stylus Shows, Inc., 2006 WL 894955, at *2 (D. Colo. March 30, 2006) (holding

   that thirty day stay of discovery was appropriate when motion to dismiss for lack of personal

   jurisdiction was pending); Chavous v. D.C. Fin. Responsibility & Mgmt. Assistance Auth., 201

   F.R.D. 1, 2 (D.D.C. 2005) (“A stay of discovery pending the determination of a dispositive

   motion is an eminently logical means to prevent wasting the time and effort of all concerned and


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   to make the most efficient use of judicial resources.”) (internal quotation omitted); Nankivil v.

   Lockheed Martin Corp., 216 F.R.D. 689, 692 (M.D. Fla. 2003) (noting stay may be appropriate if

   “resolution of a preliminary motion may dispose of the entire action.”).

           When determining whether to stay all discovery, this Court considers the following

   factors: (1) the plaintiff’s interest in proceeding expeditiously with the civil action and the

   potential prejudice to plaintiff of a delay; (2) the burden on the defendants; (3) the convenience

   to the Court; (4) the interests of persons not parties to the civil litigation; and (5) the public

   interest. See String Cheese, 2006 WL 894955, at *2, citing FDIC v. Renda, 1987 WL 348635, at

   *2 (D. Kan. Aug. 6, 1987).

           Here, the Court’s resolution of the MSJ will resolve all disputed issues in this lawsuit. St.

   Paul either owes Defendants defense and indemnification, or it does not. Proceeding with expert

   and fact discovery would likely waste the Parties’ and perhaps the Court’s resources given that

   no more discovery is needed for the Court to determine as a matter of law the only dispute

   presented in this case: namely, whether St. Paul owes Defendants any defense and

   indemnification obligations. Nor would any Party be prejudiced by staying discovery pending

   resolution of the MSJ. To the contrary, the Parties will benefit from avoid the cost and effort of

   any further discovery. The Court should therefore stay discovery pending finalizing briefing of

   and issuing an order on the MSJ.

                                               ARGUMENT

           The String Cheese factors weigh in favor of granting this Motion. See String Cheese,

   2006 WL 894955, at *2.

           As to the first factor, of course St. Paul has an interest in proceeding expeditiously with



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   this matter. See id. But St. Paul not only does not oppose a stay of discovery, it requests one by

   way of this Motion. Therefore, the first factor weighs in favor of staying discovery. See id.

          As to the second factor, staying discovery would not impose any undue burden on

   Defendants, who do not oppose this Motion. See id. Rather, proceeding with any additional fact

   or expert discovery will be wasteful because any ruling on the MSJ will resolve the only dispute

   in this case regarding St. Paul’s defense and indemnification obligations. The second factor

   therefore also weigh in favor of staying discovery. See id.

          As to the third factor, it is more convenient for the Court to stay discovery until it is clear

   that the case will proceed after a ruling on the MSJ. See Chavous, 201 F.R.D. at 5 (holding that

   staying discovery pending decision on a dispositive motion that would resolve the case “furthers

   the ends of economy and efficiency, since if [the motion] is granted, there will be no need for

   [further proceedings].”). In the unlikely event the Court’s ruling on the MSJ does not resolve all

   disputed issues regarding St. Paul’s defense and indemnification obligations, it is likely that

   ruling will be issued in sufficient time for the Parties’ to complete any additional discovery

   needed to address whatever issues remain without jeopardizing the June 22, 2023 pretrial

   conference date. Thus, the third factor also weighs in favor of staying discovery. See String

   Cheese, 2006 WL 894955, at *2.

          As to the fourth factor, there are no nonparties with significant particularized interests in

   this case. St. Paul acknowledges that, if St. Paul owes Defendants defense and indemnification

   obligations, Defendants will be able to look to St. Paul to satisfy at least some portion of any

   judgments against them and in favor of the plaintiffs in the underlying lawsuits. But a stay does

   not jeopardize whether and the extent to which those plaintiffs will be able to seek recovery from



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   St. Paul because that issue will be resolved by the Court’s ruling on the MSJ. For this reason,

   delaying discovery in this case will not affect the plaintiffs in the underlying lawsuits, and

   therefore the fourth factor is neutral and weighs neither for nor against staying discovery. See id.

          As to the fifth and final factor, the public’s only interest in this case is a general interest

   in its efficient and just resolution. Avoiding wasteful discovery that will be unnecessary if the

   Court grants the MSJ clearly serves that interest. The fifth factor therefore weighs in favor of

   staying discovery. See id.

          In sum, all but one of the String Cheese factors weighs in favor of staying discovery

   pending a ruling on the MSJ, and the other factor is neutral. A stay is therefore consistent with

   judicial economy, efficiency, fairness, and justice interests and is an appropriate exercise of this

   Court’s discretion.

                                             CONCLUSION

          Either St. Paul owes Defendants defense and indemnification as to the underlying

   lawsuits against them, or it does not. No more discovery is needed for the Court to makes its

   legal determination as to this issue that is dispositive of this entire case. A stay of discovery is

   therefore appropriate.

          For these reasons, Plaintiff St. Paul Fire and Marine Insurance Company respectfully

   requests that the Court grant this Motion and enter an order that:

          (1) All fact and expert discovery is stayed pending completion of briefing of and entry of

              an order on the MSJ; and

          (2) If the Court’s order on the MSJ does not resolve all disputed issues in this case, the

              Parties must file within fourteen days of the Court’s order on the MSJ a status report



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             advising the Court of any outstanding discovery needed to address any remaining

             issues and requesting that the Court establish deadlines to disclose affirmative and

             rebuttal experts, complete discovery, and file any other dispositive motions.



   Dated: September 22, 2022.                      Respectfully submitted,



                                                   s/ Nathaniel Scott Barker
                                                   Evan Bennett Stephenson
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                                                   Insurance Company




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                           CERTIFICATE OF SERVICE (CM/ECF)

          I HEREBY CERTIFY that on September 22, 2022, I electronically filed the foregoing
   PLAINTIFF’S UNOPPOSED MOTION TO STAY DISCOVERY PENDING
   RESOLUTION OF PLAINTIFF’S MOTION FOR SUMMARY JUDGMENT with the
   Clerk of Court using the CM/ECF system which will send notification of such filing to the
   following email addresses:

                Jeremy Andrew Sitcoff
                 jas@levinsitcoff.com, kjh@levinsitcoff.com, naw@levinsitcoff.com,
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                                             s/ Nathaniel Scott Barker
                                             Nathaniel Scott Barker




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